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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 09-82379-CIV-COHN/SELTZER

JACQUELINE I. DEUEL,
individually,

        Plaintiff,

v.

SANTANDER CONSUMER USA, INC.
a foreign corporation,

     Defendant.
_________________________________/

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

this action with each party to bear its own attorney’s fees and costs except as

otherwise agreed by the parties.


     Scott D. Owens, Esq.               John B. Rosenquest IV, Esq.
     Attorney for Plaintiff             Robert M. Brochin, Esq.
     COHEN & OWENS, P.A.                Attorneys for Defendant
     3801 Hollywood Boulevard           MORGAN, LEWIS & BOCKIUS, LLP
     Suite 200                          5300 Wachovia Financial Center
     Hollywood, Florida 33021           200 S. Biscayne Boulevard
     Phone: 954-923-3801                Miami, FL 33131
     Fax: 954-967-2791                  Phone: 305-415-3456
                                        Fax: 305-415-3001

     /s/Scott D. Owens                  /s/John B. Rosenquest, IV
     Scott D. Owens, Esq.               John B. Rosenquest, IV, Esq.
     FBN: 597651                        FBN: 048431
     scott@cohenowens.com               jrosenquest@morganlewis.com
